                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           DOCKET NO.: 3:11CR3-RJC-DCK

UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
vs.                                       )
                                          )                                 ORDER
DEMORRIS LAMAR ANDERSON,                  )
            Defendant.                    )
                                          )
__________________________________________)

          THIS MATTER IS BEFORE THE COURT to correct an administrative error. In the

above-captioned criminal matter pending in this Court, the government inadvertently misidentified

and transported the wrong person for the initial appearance held before the undersigned. Mr. Lamar

Leroy Carl Anderson, date of birth June 11, 1986, currently serving a federal sentence at FCI

Ashland, Kentucky, was mistakenly brought to court instead of the Defendant, DeMorris Lamar

Anderson. All counsel were in agreement that the wrong person was transported and appeared in

court. The United States Marshal is directed to return Mr. Lamar Leroy Carl Anderson to FCI

Ashland, Kentucky and to take whatever reasonable administrative steps might be warranted to

ensure that he suffers no consequence from being temporarily misidentified as the Defendant in this

matter.

          SO ORDERED.


                                                Signed: December 22, 2011




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